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EXHIBIT 12
2:17-cv-00194-kjd Document 140-14 Filed 03/06/20 Page 2m>f3 EXHIBIT

From: Patricia J. Spencer [Patricia.J.Spencer@hitchcock.org]

Sent: 1/19/2017 11:30:13 AM

To: Maria D. Padin [Maria.D.Padin@hitchcock.org]; Jocelyn D. Chertoff Jlocelyn.D.Chertoff@hitchcock.org]; Leslie R.
DeMars [Leslie.R.DeMars@hitchcock.org]

cc: Kayla L. Hollis [Kayla.L.Hollis@hitchcock.org]; Michele F. Scearbo [Michele.F.Scearbo@hitchcock.org]

Subject: Confidential - Other Consideration Follow-Up Seifer

Attachments: SeiferD_OC_Follow-Up_2017-01-24 CC Mtg.pdf

Thank you all for the meeting this morning. It was most helpful!
Enclosed is the DRAFT version of the Other Consideration form to be sent to the Boards.

The Credentials Committee Other Consideration form will remain the same as the one attached to the packet of
information uploaded for the 1/10/17 Credentials Committee meeting. The one exception being that the
Follow-Up section for the January 10, 2017 Credentials Committee meeting will be updated to the language for
the January 24, 2017 meeting as written in the enclosed document.

Please let me know if there are any changes needed. Once I know you are okay with the document we will
upload the information for next week’s Credentials Committee meeting.

Thank you again and have a good rest of the day! ©
Patty

Patty J. Spencer

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patricia.j.spencer@hitchcock.org
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Credentialing is the silent foundation on which patient safety is built

SPOR oe RCO te Roe RR a ae eR COR ee fa eae aR eae eB oR oe ae bt hea eae ae fs ae oe ae ae

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D-H Credentialing File with Other Considerations
Follow-Up

David B. Seifer, MD
Service Line: Obstetrics & Gynecology
Primary Service: Reproductive Endocrinology & Infertility

Initial Appointment File from May 31, 2016

Other Consideration: Verification Response

Description: .
Evaluations from peers, where Dr. Seifer worked from 11/2014 to 4/2016, were received that had

below average ratings-and indicated there had been complaints.

Service Line Comments: Leslie DeMars, MD, Obstetrics and Gynecology Service Line Leader
called the evaluator regarding the negative responses. It was determined that both the evaluator
and Dr. Seifer agreed that the position was not a good fit for Dr. Seifer. The evaluator
confirmed there was no quality of care or competency concerns.

Committee Discussion: Dr. DeMars was asked to develop a "Three month proctoring plan"
outlining the D-H goals for Dr. Seifer. The evaluation was requested to include reviewing

interactions with peers, nurses, office personnel and patients, as well as his clinical competencies.

The Committee reviewed the proctoring plan that Dr. DeMars submitted and the Committee was
supportive of the plan and Dr. Seifer’s appointment.

Follow-Up for the January 24, 2017
Credentials Committee Meeting

Service Line Comments: Dr. Demars submitted the required 360 evaluation. The
recommendation is that Dr. Seifer has successfully completed his required proctoring plan.

Committee Discussion: The detailed evaluation was primarily positive. Upon review of the
evaluation by the Credentials Committee Chair and the CMO, there were questions regarding the
negative comments that required follow-up. A meeting was held with Dr. Demars to discuss the
evaluation. At the conclusion of the meeting it was determined that several of the negative
comments provided in the evaluation were contributed by a potentially biased source. Dr.
Demars noted that Dr. Seifer has been open to constructive feedback and is working on his
situational awareness skills. Dr. Demars is working diligently with the entire team around many
areas of practice including communication and communication styles.

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